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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

United States of America
                                  Plaintiff,
v.                                                    Case No.: 1:22−cv−01941
                                                      Honorable Edmond E. Chang
Concepcion Malinek
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 29, 2024:


        MINUTE entry before the Honorable Edmond E. Chang: The 28 U.S.C. 2255
motion remains under advisement. The tracking status hearing of 08/30/2024 is reset to
10/18/2024 at 8:30 a.m., but to track the case only (no appearance is required, the case
will not be called). Mailed notice (mw, )




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